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Exhibit O
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  ft
I.




                 "Pay Attention to Yourselves
                                   and to
                  All the Flock."-Acts 20:28.




                                      Kingdom Ministry School
                                              Textbook




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Overseers 'Ruling for Justice Itself'
   Jehovah, as a wonderful Provider, has provided over-
seers to "rule as princes for justice itself." (Isa. 32: 1,
2) Jehovah God is holy. He requires that all those who
worship him be spiritually and morally clean. ( 1 Pet.
1:14-16) You have a large part in safeguarding the
cleanness of the congregation.
   Protective care is a basic idea in the word overseer
( e.pi'sko.pos), which carries also the thought of one
who watches over, a guardian, a shepherd of the flock.
You have the responsibility to cultivate in the hearts
of the brothers a love for what is good and a hatred for
what is bad, wicked. (Rom. 12:9) By holding to God's
Word and by effectively using the art of teaching, you
will be able to help your brothers not only to understand
what is right and what is wrong, but also to have an
active part in keeping the congregation clean and
chaste for public service to Jehovah.

ALL ELDERS HAVE A RESPONSIBILITY
                                                   ,
Not just the elders on the designated judicial com-
 mittee but all elders are responsible to shepherd the
 flock, to teach, reprove, reprimand and exhort as nec-
 essary. (Titus 1: 9-14)
  By your teaching, make clear what God requires and
    encourage faithful obedience to his righteous prin-
    ciples.
   At the meetings and in personal conversation help
    the brothers to appreciate their responsibility to
    keep the congregation clean.
                           55




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                     Help them to understand that this is done by-
                       Their own personal conduct.
                       Resisting temptations.
                       Refusing to feed their minds on wrong ideas.
                       Parents' properly training and disciplining their
                        children.
                       Younger ones' being obedient to parents.
                       Refusing to imitate the world and its ways.
                       Properly teaching interested persons the Bible's
                        high moral standards.
                     If a person is guilty of serious wrongdoing it is
                      wise for him to speak to one or more of the elders.
                      (Jas. 5: 16)
                     Where one has certain knowledge of wrongdoing
                      that poses a threat of or indicates contamination
                      of the congregation, such a one is obligated to re-
                      port the matter in order to keep the congregation
                      clean. (Deut. 13:12-14; Num. 15:32-34)
                 Set a fine example in conduct, attitude and speech, so
                  others can imitate your "faith." (Heb. 13: 7)
                   Display the traits of a "spiritual man." Do not give
                   way to unclean practices as a "physical man" would.
                    Your example will help your brothers to "have the
                    mind of Christ." (1 Cor. 2: 14-16)

                 Take the initiative to help any in the congregation who
                  may take "some false step"; "try to readjust" him.
                  (Gal. 6: 1)
                   Encourage good association. Warn the brothers to
                    be on guard against bad association both inside and
                    outside the congregation. (1 Cor. 15:33)




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  Some associated with the congregation do not yet
   have perceptive powers that have been trained to
   distinguish right and wrong. (Heb. 5: 14) 'Keep a
   watch over their souls.' You will render an account
   for them too. (Heb. 13: 17)
Deal with your brothers as Jehovah would deal with
 them. (Eph. 5: 1)
  Give them direction from his Word, not your opinions.
    (2 Tim. 4:2)
  Be just, kind, humble in all your dealings.
     "He has told you, 0 earthling man, what is good.
      And what is Jehovah asking back from you but
      to exercise justice and to love kindness and to be
      modest in walking with your God?" (Mic. 6:8)

WHAT IS BAD IN JEHOVAH'S EYES
(As time permits, discuss the following items or those
that will be most appropriate.)
What Scriptural evidence is there that Jehovah forbids
the following among his clean people? Also, what ben-
efits come to those who obey Jehovah's laws on these
matters?
 Mans/,aughter: also suicide, which is self-murder.
   (1 John 3: 15; Prov. 6: 17)
    How could a degree of guilt result from careless
     driving habits? Careless maintenance of one's
     automobile? ( Compare Deuteronomy 22: 8.) Or
     participation in violent sports?
 Adultery, fornication (porneia): includes all per-
  verted sex practices and lewd acts, among which




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                    are homosexuality, sodomy, lesbianism, bestiality.
                    (1 Cor. 6: 9, 10; Rom. 1: 24, 26, 27, 32; Lev. 20: 10,
                    13, 15, 16)
                   Apostasy: teaching false doctrines; supporting or pro-
                    moting false religion and its holidays; interfaith
                    activities. (Deut. 13: 13, 15; 2 Cor. 6: 14, 15, 17, 18;
                    2 John 7, 9, 10; Rev. 18:4)
                     Why could working secularly for a false religious
                      organization put one in a position similar to. that
                      of one preaching false doctrine? (2 Cor. 6: 14-16)
                     How would you explain that celebrating a false
                      religious holiday is similar to performing any other
                      act of false worship? (Jer. 7: 16-19)
                     What does the Bible say about: (1) causing divi-
                      sions and promoting sects? (Rom. 16: 17; Titus
                      3: 10, 11) (2) the practice of spiritism? (Deut.
                      18:9-13; 1 Cor. 10:21, 22; Gal. 5:20) (3) idolatry?
                       (1 Cor. 6:9, 10; 10: 14)
                     Why could idolatry include the possession and use
                      of images and pictures that are used in false
                      religion?
                   Drunkenness. (1 Cor. 5: 11; 6: 9, 10)
                   Stealing, thievery, fraud. (Lev. 6: 2, 4; 1 Cor. 6: 9, 10;
                    Eph. 4:28)
                   Lying, bearing false witness. (Prov. 6: 16, 19; Col. 3: 9;
                    Rev. 22:15)
                   Reviling, s/,ander. (Lev. 19: 16; 1 Cor. 6: 10)
                   Obscene speech. (Eph. 5:3-5; Col. 3:8)
                   Failure to 'abstain from blood.' (Gen. 9:4; Acts 15:
                    20, 28, 29)




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  Greed-gambling, extortion. (1 Cor. 5: 10, 11; 6: 10;
   1 Tim. 3:8)
  Refusal to provide materwlly for those of your family.
   (1 Tim. 5:8)
  Nonneutral activities. (Isa. 2:4; John 6:15; 17:16)
  Fits of anger, violence. (Prov. 22: 24, 25; Mal. 2: 16;
   Gal. 5:20)
  Misuse of tobacco and other addictive drugs. (2 Cor.
   7:1; Mark 15:23; Rev. 21:8; 22:15, Int.-druggers)

CAN YOU HELP THE PERSON?
We want to help people if we can.
 Some matters may be handled by the elder who hears
  of the wrongdoing. (Gal. 6: 1)
   If you feel that your counsel will suffice to restore
     the individual, it is advisable also to inform the
     presiding overseer of the matter. There may be
     other factors involved; the matter may have come
     up before or there may have been other wrong-
     doing concerning which he has knowledge.
 There are cases that the body of elders is responsible
  to investigate and, where necessary, appoint a com-
  mittee to handle. (See Unit 4 [b], page 68.) These
  include:
    Gross sins that have brought the congregation into
     public disrepute. tRom. 2:21-24; 1 Cor. 5: 1; 2 Cor.
     7:11)
   Any serious sin that constitutes a clear threat of
     contaminating the cleanness of the congregation.
      (1 Cor. 5:6, 9-11; Gal. 5:19-21; 1 Tim. 1:9, 10)




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                     Where an individual is an elder or a minist.erial
                     servant and commit.a a gross wrong, he is morally
                     obligat.ed to inform the body of elders of his being
                     reprehensible.
                      Such ones should serve with a clean conscience.
                        (1 Tim. 3: 2, 8, 9; Titus 1: 6)
                 Baptized minors.
                  When a baptized minor becomes involved in wrong-
                    doing that becomes a threat to the cleanness of the
                    congregation, the committ.ee should meet with such
                    an individual just as they would with any other
                    member of the congregation.
                  It would be best to meet with the youth and bis
                    parent.a.
                     They have the responsibility to raise him and
                       train him.
                  Try to restore the individual if this is possible.
                   If effort.a bring no response, then disfellowship.
                 Married people.
                  If the wrongdoer is the wife, it would be best to meet
                   with her and her husband. He is her head and his
                   effort.a to restore her and direct her can be very
                   helpful.
                  Try to lead the person to repentance.
                  If there is no response to effort.a to bring about re-
                   pentance, then wrongdoer should be disfellowshiped.
                 Unbaptized associates.
                  Even unbaptized ones who have been regularly as-
                   sociating and who by their serious wrongdoing pose




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   a threat to the cleanness of the congregation, thus
   constituting 'leaven,' should be dealt with in a way
   similar to that for baptized individuals.
  If the individual is a minor, it would be best to meet
   with the youth and his parents, as outlined above.
  Your goal in dealing with unbaptized associates,
   whether youths or adults, is to help them.
  If they are unrepentant and thus are found not to
    be good associates, a brief announcement to the
    congregation is made that all should avoid close
    association with them to protect the congregation
    where there is a clear threat of contamination.
Baptized persons who have not associated for some time.
  If you learn of serious wrongdoing on the part of such
   a person, the matter should be investigated if it
   poses a threat to the congregation's welfare or causes
   a public scandal.
  If there is no repentance, disfellowshiping action
   would be taken.
     The fact that the individual has isolated himself
      for some time does not absolve the committee
      from taking action where needed.
  If there is great difficulty in locating the individual
   and gathering all the facts, and the individual is not
   now recognized by the congregation or outsiders as
   one of Jehovah's Witnesses, the elders need not
   spend a lot of time pursuing the matter.
 If a baptized person insists that he wants to be no part
  of the congregation and he wants his name removed
  from all our records, we can comply with his request.




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                   If he takes such an adamant position, it would be
                    well to encourage him to put his request in writing
                    and it can be held in the congregation files.
                   In a case like this the Society should be notified and
                    a brief announcement should be made to the con-
                    gregation. The person will be viewed as "disas-
                    sociated" and he would have to apply for reinstate-
                    ment in the regular way in order to become a
                    member of the congregation again.
                 Remember, our goal is to help people if we can.

                 IF THE DECISION IS TO DISFELLOWSIDP
                 The Branch should be notified of the person's name, the
                  reason for the disfellowshiping, a brief review of the
                  evidence that was presented and the date of the action.
                 Those who are disfellowshiped should be viewed as such.
                   There is no reason for publishers to seek them out
                    to greet them.
                     In cases of occurrences of real trouble, humani-
                      tarian help could be extended to such. (Luke
                      10:29-37)
                   The disfellowshiping of a mate does not end one's
                    responsibilities in marriage.
                   When minors are disfellowshiped, parents of disfel-
                    lowshiped minors are still responsible for raising,
                    training and teaching them, even using God's Word
                    in doing so.
                 If an individual has changed his course and gives evi-
                  dence of repentance, it would be proper for an elder




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 t.o approach him and tell him what steps he can take
 t.o gain reinstatement, if this is his wish. Such re-
 pentant ones could be greeted but are not t.o be sought
 after by members of the congregation.
If an individual is trying t.o influence others t.o take a
 wrong course or is trying t.o deceive others, all should
 avoid him. He is described at 2 John 9-11.
If an individual believes he bas not been dealt with
 fairly, he can appeal the decision t.o disfellowship.
  In this case it would be best for the elders t.o write
   the Society and get their recommendation of who
    might best serve on the appeal committee.
  The appeal committee will rehear the whole case.
    Their decision should be final.


REINSTATEMENT
If the wrongdoer is sincerely repentant, bas discon-
 tinued his former wrong conduct and is "doing works
 that befit repentance," he can be reinstated. (Act.s
 26:20)
   Sincere repentance, not the passage of a certain
    amount of time or the attitude of others, is what
    determines when reinstatement can be granted.
     (Compare 1 Corinthians 5: 1, 11-13; 2 Corinthians
    2:6, 7.) It may take time, however, for repentance
    t.o become evident. (2 Cor. 12: 21)
   It may be best for the elders of the congregation that
    disfellowshiped t.o handle the plea for reinstatement,
    assigning certain of their number as a committee.




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                 When an individual is reinstated, he may still need
                 much spiritual assistance. The elders should see that
                 this is provided.
                  It will be up to the elders to decide when certain
                   privileges may be restored.
                     The privilege of sharing with the congregation in
                      the field service is restored when the individual
                      is reinstated.
                     Other privileges, such as commenting at meetings,
                      handling parts on the program, offering prayer at
                      meetings, and so forth, can be restored when it
                      is determined that the individual has progressed
                      spiritually to the point that he is eligible for them
                      and when it is judged by the elders that the ex-
                      tending of such privileges will not be offensive to
                      the congregation.
                  The privilege of serving as a ministerial servant or
                   an elder can be recommended only when the indi-
                   vidual is again "free from accusation." (1 Tim. 3: 10)
                    He must 'live down' the reproach and build up a
                      convincing record of righteousness, which may
                      take a number of years.

                 COOPERATION
                 When a case requires the cooperation of two congre-
                 gations, do not hesitate to provide the assistance
                 needed.
                 If more than one congregation is involved, do not make
                  the matter of jurisdiction an issue.
                    Do you have the facts? Can you handle the case




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   most effectively? Then it may be appropriate for
   you to follow through without delay.
If another congregation is involved, seek their assis-
 tance, benefit from their observations.
  Do not let a matter remain unattended.

CONFIDENTIAIJTY
NO'I'E: Reports have been received where elders have
 revealed confidential matters to their wives or others
 in the congregation. This has caused bad feelings to
 develop and undermines the confidence in and respect
 for the body of elders. Publishers expect personal
 matters will be kept confidential and hesitate to ap-
 proach elders who have been indiscreet, and failed to
 do so. Sometimes elders will discuss certain matters on
 the telephone or in other places where other members
 of the family can hear the conversation or do so at the
 Kingdom Hall within earshot of other brothers.
Why is failing to keep confidence Scripturally unwise?
 (See Proverbs 11:13; 25:9, 10.)
Where there is a lack of good judgment in this matter,
what could result? (See James 3:5.)

BE "IMITATORS OF GOD"
Jehovah is a God of justice; he is merciful, kind, loving
 and patient. (Ps. 37:28; EL 34:6, 7)
  As you deal with your brothers, imitate Jehovah in
   displaying these qualities and you will be an honor
   to him and a blessing to your brothers.




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                   Sharing on the Judicial Committee
                     "When having a hearing between your brothers, you
                   must judge with righteousness." (Deut. 1: 16) Judging
                   matters that affect people's lives and relationships is
                   a serious responsibility. Elders cannot properly decide
                   matters on the basis of limited knowledge, but must
                   have a reasonably complete picture when hearing a
                   matter. They also need heavenly wisdom t,o make proper
                   application of God's Word and in order t,o determine
                   how far their showing mercy should extend. At all
                   times they must act with impartiality.-1 Tim. 5:21;
                   see w77, pp. 146-152.

                   ELDERS ARE TEACHERS AND JUDGES
                   Jehovah has raised up elders who are in a position to
                    serve as counselors and judges. (Isa. 1:26)
                     Your responsibility not only involves handling ju-
                      dicial matters; you must also teach and make clear
                      what God requires and encourage the rendering of
                      whole-souled service t,o God and faithful obedience
                      t,o his righteous principles.
                   Cases of serious wrongdoing require special attention
                    by the elders to determine what is needed t,o preserve
                    the spiritual health of all.
                     In such cases, elders serving as a judicial committee
                      must weigh matters carefully, knowing that certain
                      fact.ors may distinguish one situation from another.
                     Instead of looking for rigid rules for guidance, you will
                      need t,o think in terms of principles and judge each
                      case on its own merits.
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  You should be confident that, with accurate knowl-
   edge, with experience and discernment, and with the
   help of God's spirit, you can judge in righteousness,
   wisdom and mercy.

JUDICIAL COMMITTEES ADMINISTERING
 GOD'S LAWS
NO'rE: Adjustments in the operation of the judicial
 committees were announced at the 1977 District As-
 semblies to become effective as of September 1977.
What will be some of the benefits the congregation will
 receive from the following judicial committee adjust-
 ments?
  There will be no permanent judicial committee of
   three elders as in the past made up of the current
   service committee of three-the presiding overseer,
   the field overseer and the Bible study overseer.
  A suitable judicial committee is formed to handle
   judicial cases as they arise.
  At such time one elder is designated to serve as the
   chairman for that case.
  Elders present at the Kingdom Hall assume respon-
   sibility to select the judicial committee necessary
   for the case.
  These will take into consideration that the problem
   may require certain elders who are experienced in
   handling the particular type of case that has arisen.
  More than one judicial committee may operate at a
   given time depending on cases that arise.
  The judicial committee need not be limited to three
   members. Where the gravity of the case involved




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                     warrants having four or even five experienced elders
                     to serve, this may be arranged.

                  HEARINGS BEFORE THE JUDICIAL
                   COMMl'ITEE
                  REMEMBER: There are cases that the body of elders is
                   responsible to investigate and, where necessary, ap-
                   point a committee to handle. These include:
                    Gross sins that have brought the congregation into
                     public disrepute. (Rom. 2: 21-24; 1 Cor. 5: 1; 2 Cor.
                     7:11)
                    Any serious sin that constitutes a clear threat of con-
                     taminating the cleanness of the congregation. (1 Cor.
                     5:6, 9-11; Gal. 5: 19-21; 1 Tim. 1:9, 10)
                    Where an individual is an elder or a ministerial ser-
                      vant and commits a gross wrong, he is morally obli-
                      gated to inform the body of elders of his being rep-
                      rehensible. (1 Tim. 3:2, 8, 9; Titus 1:6)
                    In some cases the individual will come voluntarily
                      seeking aid and confessing his wrongdoing.
                    In other cases an accusation may be brought against
                     some member of the congregation.
                       The committee should consider whether the ac-
                        cusation gives evidence of having substance or
                        not and if a meeting with the committee is re-
                        quired.
                         Some accusations involve misunderstandings and
                          can best be handled on a personal basis.
                  When you invite an individual to meet with the com-
                  mittee, at times a written invitation may be advisable.
                   Information should be given as to the time and place




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   of the hearing, the reason for it, and what the per-
   son's course of action is supposed to have been.
  If he wishes to bring witnesses who can speak in his
   defense regarding the matter, he may do so.
  If the person repeatedly fails to come to the hearing,
   the committee will go ahead with the hearing, but
   will not make a decision until evidence and testi-
   mony are considered. The committee should not
   take action against the person unless the evidence
   clearly proves this necessary.
What kind of evidence is acceptable?
 There must be two or three eyewitnesses, not just
  persons repeating what they have heard; no action
  can be taken if there is only one witness. (Dent.
  19:15; John 8:17)
 Confesmon (admission of wrongdoing) can be ac-
  cepted as conclusive proof without other corrob-
  orating evidence. (1 John 1: 9)
 Strong circumstantial evidence, such as pregnancy,
  or evidence ( testified to by at least two witnesses)
  that one stayed all night in the same house with a
  person of the opposite sex (or in the same house
  with a known homosexual) under improper cir-
  cumstances, is acceptable.
 The testimony of youths may be considered.
    It is up to the elders to determine if it has the
     ring of truth.
 The testimony of unbelievers may also be considered,
  but it must be carefully weighed.
 If there are two or three witnesses to wrongdoing but
  each of them is a witness to a separate event, this




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                     also can be considered. Such witnesses may be al-
                     lowable but it is preferable to have two witnesses
                     to the same event.

                  JUDGING WITH RIGHTEOUSNESS, WISDOM
                   AND MERCY
                  Elders must exercise godly qualities in their judging.
                    In giving counsel or rendering decisions it is one
                     thing to expr~ an opinion; it is quite another
                     matter to judge in righteousness. (Deut. 1: 16, 17)
                    To isolate main points and to see how a problem
                     developed or why something was done, you must
                     ask pertinent, discreet questions and seek divine
                     wisdom to relate Bible laws to the issues raised or
                     the charges being considered. (J as. 1: 5; 3: 17, 18)
                    You must exercise mercy in matters of judgment, not
                     only by showing compassion to soften the judgment
                     but by expressing kind consideration and pity in
                     an effort to heal and restore those who are repentant
                     and by trying to bring them to repentance. (Rom.
                     2: 14; Jude 22, 23)
                  In cases where it is established that a serious offense
                   was actually committed, the judicial committee can
                   consider such factors as these ( Students explain why
                   these are important) :
                    What were the circumstances leading up to the wrong-
                     doing?
                    Was there evidence of the person's craving wrongful
                     things or 'courting trouble'? (Jas. 4: 1)
                    Has he been admonished before that his course was
                     leading toward danger? (1 Thess. 5: 14)




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  Was it a single offense or was it committed more
   than once?
  Was his confession voluntary or did he have to be
   accused by others before confessing?
  And, above all, does he show true repentance and
   manifest a heartfelt desire to avoid repetition of
   the wrong?
Even though the wrongdoer is guilty of a serious of-
 fense, elders on the judicial committee realize that
 their aim is to help, whenever possible, the one who
 has fallen into a wrong course.
  If he 'listens to them,' showing true repentance, it
   may be that he can be "gained" as a brother and thus
   spared from being disfellowshiped (Matt. 18: 15-17)
Neither the gravity of the wrong nor bad publicity is
 what finally determines if the person (s) should be
disfellowshiped; rather the determining factor is the
individual's sincere repentance or lack of it.
  Some manifest repentance right after their sin and
   take steps immediately to confess; others do so later,
   even at the meeting with the judicial committee.
    It is to the person's favor when he voluntarily con-
     fesses, but still the important factor is, Is he
     repentant?
 There is good reason for you to weigh claims of
   repentance carefully where the individual has shown
  himself to be guilty of hypocrisy, lying and deliberate
  efforts to deceive, or where it is appare nt that the
  wrong act was preceded by deliberate scheming,
  perhaps in a cold, calculating way.




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                       This is quite different from an individual's 'caving
                        in' due to human weakness under the unexpected
                        pressure of certain tempting circumstances.
                  How can true repentance be recognized by the judicial
                   committee?
                    Has the individual contritely prayed to Jehovah and
                     sought his forgiveness and mercy?
                    Has he admitted his wrongdoing either voluntarily
                     to some of the elders before the hearing or when con-
                     fronted by his accusers?
                    What motivates whatever sadness, remorse and re-
                     gret he shows? Is it worldly sadness or godly sad-
                     ness? (2 Cor. 7:8-11)
                    Does he have a deep regret over a damaged relation-
                     ship with Jehovah, a heartfelt wanting to come back
                     into God's favor, a remorse over the reproach he
                     has brought upon Jehovah's name and people?
                      (2 Cor. 7: 11, 12)
                    Does his attitude include a heart-motivated rejection
                     of the bad course as repugnant, hated? (Rom. 12:9)
                    Is he displaying "works that befit repentance"? (Acts
                     26: 20) May take time to determine this.

                  EXERCISING BALANCE AND JUDGMENT
                    IN WEIGIDNG THE NEED
                  In any case of serious wrongdoing, whether the repen-
                   tant one seeks your help or you, instead, go to him, as a
                   judicial committee you will want to be satisfied that
                   there is sincere repentance and that he is earnestly en-
                   deavoring to hold to a right course. ( w76, pp. 717-735)
                     If the person's own heart has not reproved him and
                      moved him to abandon the wrong, then the respon-




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   sible elders should reprove him so as to bring about
   this needed result.
If a Christian commits some wrong one or more
 times, but thereafter his conscience moves him to
 repent and he turns away from such wrongdoing,
 abandoning it, the wrongdoer himself, in effect, has
 already reproved himself.
   His own conscience does the accusing, God's Word
    and spirit do the convicting and his heart moves
    him to repent; he does not require someone else to
    "lay bare his fault" in order to get him to acknowl-
    edge and correct his wrong.
   This does not mean that he does not need help to
    strengthen his resolve and determination not to
    return to his wrong. (Luke 22: 31, 32)
     He would do well to speak to an elder about the
       matter and if the wrong comµritted is of a nature
       serious enough to be handled by a selected judicial
       committee, this may be arranged.
     Such a one is like one physically ill; he still needs
       a physician to help him recover. (Luke 5:31)
     Your responsibility would be to give sound Scriptur-
       al counsel to impress upon him the seriousness of
       the situation and get him to appreciate more fully
       the danger of 'letting down his guard' even momen-
       tarily, and his need to 'keep working out his own
       salvation with fear and trembling.' (Phil. 2: 12)
The fact that a person has reproved himself in his own
 heart and no disfellowshiping has resulted does not
 necessarily mean that he would continue to carry out
 all the functions in the congregation that he did up
 until that time.




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                    The judicial committee may judge it advisable not to
                     use such a one in matters of responsibility for a time,
                     perhaps feeling that this restriction could contribute
                     to the person's becoming 'readjusted.' (Gal. 6: 1)
                  Where circumstances show that a person's own heart
                   has not reproved him and the wrong is not acknowl-
                   edged, the elders are obliged to present the wrongdoer
                  with the "convincing evidence" of his wrong course.
                   (John 16:8)
                    The person who persists in wrongdoing generally
                     excuses himself in his own mind, even convinces
                     himself that God will condone what he is doing.
                    You should seek to help him to see the wrong in its
                     true colors and why it should be hated by him; your
                     aim is to bring him to repentance and an abandoning
                     of the wrong course, not only in deed but in mind
                     and heart. (Titus 1: 9)
                    If you feel that more time is needed for him to think
                     and pray about what you have said in counsel and
                     reproof as a judicial committee, this may be al-
                     lowed; you may need to talk with him several times
                     to bring him to restored spiritual health. Endeavor
                     to do so "with all long-suffering and art of teaching."
                     (2 Tim. 4:2)
                  What, then, of the apostle Paul's instruction to reprove
                  "before all onlookers" those persisting in sin? ( 1 Tim.
                  5:20)
                   Since we cannot be dogmatic as to just how com-
                    prehensive the phrase "before all onlookers" is in
                    its application, it would seem that the need existing
                    should guide the judicial committee in the way it
                    is applied.




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    If you determine that the reproof needs to be
     brought to the attention of the whole congregation
     by announcement and later on by a Scriptural
     talk on the matter, then this should be done. Or
     the reproof may be given before all who are con-
     cerned in the matter, when the judicial committee
     is handling the case, that they "also may have
     fear." (1 Tim. 5: 20)
    In many cases, you as members of the judicial com-
     mittee may determine that a talk at a later meet-
     ing by an elder is all that is needed; such a talk
     could show how it is that people are led into the
     particular kind of wrongdoing involved, why it is
     so condemnable and harmful, as well as giving
     sound counsel on ways to fortify oneself against
     falling into such a snare.
       On the occasion of such a talk, however, there
        would be no names mentioned.
In the case of one who repents only as a result of being
 convinced (by reproof) of his sinful course, the re-
 moval of responsibility or privileges would likely follow
 as contributing to a "disciplining in righteousness."
 (2 Tim. 3: 16)
  If you decide that restrictions should be applied, such
   as not to use the person to represent the congrega-
   tion in prayer or to share in the giving of instructions
   from the platform, and so forth, then he would be
   removed also from responsibilities as an elder, a
   ministerial servant or a pioneer.
In all cases, the elders on the judicial committee must
 weigh such factors as the seriousness of the wrong
 committed, the length of time that has passed since




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                   it occurred, the circumstances that led up to it, and
                   the extent to which a measure of willfulness was
                   shown or there was failure to give heed to earlier warn-
                   ing counsel.
                  After reasonable efforts to "readjust" the wrongdoer
                   have been exhausted, those who have committed se-
                   rious sins and are unrepentant must be disfellowshiped.
                    You must show respect for Jehovah's standard of
                      righteousness and holiness; also, you must protect
                      the congregation from willful sinners. The text at
                      1 Corinthians 5: 9-13 demonstrates that there may
                     be flagrant cases where there is no need to delay
                      prompt action to disfellowship.
                  The same principles will govern the judgment on the
                   part of a judicial committee in cases of reinstatement.
                    Genuine repentance and the turning away from the
                     wrong course, not the specific act committed nor
                     merely the time elapsed, are the chief determining
                     factors in deciding when a person may be reinstated.

                  THE RESPONSIBILITY OF JUDGMENT IS
                    A WEIGHTY ONE
                  Judging matters ihat affect people's lives and relation-
                   ships is a serious responsibility; it calls for balance
                   and judgment, discernment and understanding.
                  Elders on a judicial committee must weigh carefully
                   both the interest.a of the individual and of those of
                   the congregation as a whole.
                    On the other hand, you must feel keenly your obliga-
                     tion before God to prevent wrongdoing from in-
                     filtrating and spreading within the congregation.




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  At the same time, you must show just as deep a con-
   cern that your manner of dealing with your brothers
   always reflect.a Jehovah's own wise and merciful
   ways. (Jude 3, 4, 21-23)

                                                Unit 5 (a)

How the Elders
          Work Together as a Body
   Proverbs 15: 22 states, "In the multitude of coun-
selors there is accomplishment." A congregation is
blessed to have a "body of older men" who work closely
together. But what is the key to their being able to
work in unity? What is involved in their recognizing
Jesus Christ as head of the Christian congregation, and
how will this affect their unity?
   When elders meet together, their meetings should be
well arranged. (1 Cor. 14: 40) They should try to reach
decisions on matters discussed. Arrangement.a should be
made for someone to carry out the decisions that are
made. What can the presiding overseer do to work to-
ward meaningful elders' meetings? What must each
individual elder do to make a positive contribution to
these meetings? These are the matters we will be dis-
cussing now.

RECOGNIZING THE HEADSHIP OF CHRIST
 UNITES THE BODY
Although Jehovah God is the "shepherd and overseer of
 [our] souls," he has appointed Jesus Christ as head of
 the Christian congregation. (1 Pet. 2: 25; Eph. 1: 22, 23)
  Why does accepting Jesus Christ as head of




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Auxiliary and regular pioneer a,ctivity
  How can more be encouraged to share?
  Can those pioneering assist others now?
  How much encouragement are we giving the pioneers?
  Are there any problems that the pioneers are ex-
   periencing?
How well are the people in the territory being rea,ched?
 Are the brothers resourceful, talcing advantage of
  opportunities to witness informally on all occasions?
 How thoroughly is the territory being covered?
 Are there foreign-language groups needing attention?
Moral cleanness
 Are there matters about which a selected judicial
  committee needs to inform the whole body of elders,
  for the protection of the congregation?
   Of course, confidential matters should be kept con-
    fidential.
 Are there trends toward worldliness?
Aiding other males to qualify for service responsibilities
  Who needs help and how can we give it?
  How can ministerial servants be better utilized?
Articles in "The Watchtower" or other publications
  (When special need arises, the body of elders can re-
    view articles that are appropriate to the need, such
   as: mercy, reproof, working together, and so forth.)
Matters of less-spiritual nature
  ( Only when there is a problem that cannot be handled
    by an elder or by the responsible committee.)




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